Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 1 of 9

UNITED STATES DISTRICT COURT ws peereaer pain

 
  

SOUTHERN DISTRICT OF GEOGIA ~SAVANRAH DIV,
BRUNSWICK DIVISION ZUISFFR-6& PM 3:38
UNITED STATES OF AMERICA INDICTMENT NO. cox
SO. DIST.
v. 21 U.S.C. § 963
Conspiracy to Import Controlled
THOMAS MICHAEL FEDERUIK Substances
a/k/a “CANADAI,” and
PAUL ANTHONY NICHOLLS 21 U.S.C. § 846
a/k/a “NICO LAESER” Conspiracy to Distribute

Controlled Substances

18 U.S.C. § 1956(h)
Money Laundering Conspiracy

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FILED UNDER SEAL

CR219-0006

THE GRAND JURY CHARGES THAT:

COUNT ONE
Conspiracy to Import Controlled Substances
21 U.S.C. § 963

i. Beginning at a time unknown to the Grand Jury but at least from in or
about April 2017, continuing until on or about February 20, 2018, from the country
of Canada, the defendants,

THOMAS MICHAEL FEDERUIK
a/k/a “CANADAI,” and
PAUL ANTHONY NICHOLLS
a/k/a “NICO LAESER,”
aided and abetted by each other and others unknown, did knowingly and
intentionally combine, conspire, confederate, and agree to import into Camden

County, within the Southern District of Georgia, and elsewhere within the United

States, a mixture and substance containing a detectable amount of U-47700, a
Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 2 of 9

Schedule I controlled substance, a mixture and substance containing a detectable
amount of U-49900, an analogue of U-47700, a Schedule I controlled substance, and
100 grams or more of a mixture and substance containing a detectable amount of any
analogue of fentanyl, a Schedule II controlled substance, and death resulted from use
of such substances.

Overt Acts

2: Co-conspirators did possess with intent to distribute and distribute a
mixture and substances containing detectable amounts of analogues of fentanyl, U-
47700, and U-49900, within British Columbia, Canada, for the purposes of
distributing them to the Southern District of Georgia and elsewhere within the
United States.

3. Co-conspirators would and did attempt to conceal their activities by
various means and methods including, but not limited to, using various
telecommunication facilities designed to mask their identity. To ensure anonymity
and to facilitate the conspiracy, co-conspirators used various alias names, monikers,
bitmessage accounts, and email addresses including, but not limited to:

a. Canadal,

b. Sc13nC3,

ec. Sc13C33,

d. Mehmehm3h

e. Scl3nC3@protonmail.com,

f. Scl3nC3-Sh0p@sigaint.org, and

g. BM-2cUayqdMCqoaaJ3M2N9L5Mk4P5Tv6XjWQD.

to
Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 3 of 9

4, Co-conspirators would and did use virtual currency systems, a/k/a
“cryptocurrency,” including but not limited to Bitcoin, as well as United States and
Canadian Currency in their drug transactions.

5. Co-conspirators used computers and operated websites as Dark Web
vendor “Canadal” in order to sell controlled substances and controlled substance
analogues online using internet sites including, but not limited to, “Dream Market,”
specifically designed to be hidden from the public.

6. Co-conspirators arranged to obtain controlled substances and controlled
substance analogues from places outside the United States including, but not limited
to, China and Hungary. These substances were then distributed within the Southern
District of Georgia and elsewhere within the United States.

7. Co-conspirators established and used business names based in Canada
including, but not limited to, “East Van Eco Tours” and “Bridge City Consulting LLP”
in order to facilitate the unlawful importation of controlled substances and controlled
substance analogues into Canada and also to unlawfully import and distribute them
throughout the United States.

8. Co-conspirators mailed a shipment of controlled substances and
controlled substance analogues from within Canada on or about September 27, 2017
which were delivered to Kingsland, Georgia, on or about October 11, 2017.

2: The importation and distribution of controlled substances and
controlled substance analogues resulted in the death of B.T.J. in Kingsland, Georgia,

on or about October 11, 2017.
Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 4 of 9

10. Co-conspirators mailed a shipment of controlled substances and
controlled substance analogues from within Canada on or about October 6, 2017
which were delivered to Kingsland, Georgia, on or about October 13, 2017.

11. The importation and distribution of controlled substances and
controlled substance analogues resulted in the death of T.L.B. in Kingsland, Georgia,
on or about October 15, 2017.

All in violation of Title 21, United States Code Sections 818, 952, 960, and

963, and Title 18, United States Code, Section 2.
Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 5 of 9

COUNT TWO
Conspiracy to Distribute Controlled Substances
21 U.S.C. § 846

12. Paragraphs 1 through 11 of this Indictment are repeated and re-alleged
as if set forth in full herein.

13. Beginning at a time unknown to the Grand Jury but at least from in or
about April 2017, continuing until on or about February 20, 2018, from the country
of Canada, the defendants,

THOMAS MICHAEL FEDERUIK
a/k/a “CANADAI,” and
PAUL ANTHONY NICHOLLS

a/k/a “NICO LAESER,”
aided and abetted by each other and others unknown, did knowingly and
intentionally combine, conspire, confederate, and agree to distribute a controlled
substance in Camden County, within the Southern District of Georgia, and elsewhere
within the United States, to wit: a mixture and substance containing a detectable
amount of U-47700, a Schedule I controlled substance, a mixture and substance
containing a detectable amount of U-49900, an analogue of U-47700, a Schedule I
controlled substance, and 100 grams or more of a mixture and substance containing
a detectable amount of any analogue of fentanyl, a Schedule II controlled substance,
and death resulted from the use of such substances.

All in violation of Title 21, United States Code, Sections 813, 841, and 846,

and Title 18, United States Code, Section 2.
Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 6 of 9

COUNT THREE
Money Laundering Conspiracy
21 U.S.C. § 1956(h)

14. Paragraphs 1 through 13 of this Indictment are repeated and re-alleged
as if set forth in full herein.

15. Beginning at a time unknown to the Grand Jury but at least from in or
about April 2017, continuing until on or about February 20, 2018, in Camden
County, within the Southern District of Georgia, the defendants,

THOMAS MICHAEL FEDERUIK
a/k/a “CANADAI,” and
PAUL ANTHONY NICHOLLS

a/k/a “NICO LAESER,”
aided and abetted by each other and others unknown, did unlawfully, knowingly and
intentionally combine, conspire, confederate, and agree with others unknown to the
grand jury, to knowingly and intentionally conduct and attempt to conduct financial
transactions knowing that the property involved in the financial transactions
represented the proceeds of a specified unlawful activity, that is, importation and
distribution of controlled substances and controlled substance analogues, and did so
with the intent that the financial transactions, which affected interstate and foreign
commerce, promote the carrying on of a specified unlawful activity and knowing that
the transactions were designed in whole and in part to conceal and disguise the
nature, location, source, ownership, and control of the proceeds of a specified unlawful
activity.

All in violation of Title 18, United States Code, Section 1956(a) and (h) and

Section 2.
Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 7 of 9

FORFEITURE ALLEGATIONS

The allegations contained in Counts One through Three of this Indictment are
hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to Title 21, United States Code, Section 853.

Pursuant to Title 21, United States Code, Section 853, upon conviction of any
offense in violation of Title 21, United States Code set forth in this Indictment,
Defendants

THOMAS MICHAEL FEDERUIK
a/k/a “CANADAI1,” and
PAUL ANTHONY NICHOLLS

a/k/a “NICO LAESER,”
shall forfeit to the United States any property constituting, or derived from, any
proceeds obtained, directly or indirectly, as the result of such offense and any property
used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of, the offenses.

If, as a result of any act or omission of a defendant, any of the property subject

to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of this Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be subdivided
without difficulty,
Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 8 of 9

It is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p), to seek forfeiture of any other property of said defendant up to the value of

the forfeitable property.

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Signatures on Following Page
Case 2:19-cr-O0006-LGW-BWC Document 3 Filed 02/06/19 Page 9 of 9

 

Bobby L. Christine
United States Attorney

Zo
Brian T. Rafferty
Assistant United States Attorney
Chief, Criminal Division

 

 

 

E. Greg Gilluly, Jr.
Assistant United States Attorney
Co-counsel*
